              Case
              Case1:21-cr-10118-IT
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
              v.                    )
                                    )                           NO. 21-CR-10118
JOSE LARIOS,                        )
            Defendant               )
                                    )
____________________________________)

    ASSENTED-TO MOTION FOR LEAVE TO FILE A RESPONSE TO THE
GOVERNMENT’S OPPOSITION TO JOSE LARIOS’ MOTION TO SUPPRESS TITLE
                      III INTERCEPTIONS

          Now comes the defendant Jose Larios, by and through undersigned counsel, and hereby

respectfully requests leave to file a short response by September 20, 2022, to the Government’s

Response in Opposition to Defendant’s Motion to Suppress Wiretap Evidence, Dkt. 131. As grounds

and reasons therefor, the defense seeks to address legal and factual issues that were raised by the

Government’s brief that could not have been reasonably anticipated by the defense in its initial

motion.

          WHEREFORE, the defense respectfully requests this Honorable Court to grant its request.

                         COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

          The undersigned counsel has conferred with the Government, who by and through AUSA

Leah Foley, assents to this request.

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                                                           Respectfully Submitted,


                                                           /s/ Maksim Nemtsev
                                                           Maksim Nemtsev, Esq.
                                                           Mass. Bar No. 690826
                                                           20 Park Plaza, Suite 1000
                                                           Boston, MA 02116
                                                           (617) 227-3700
                                                           menemtsev@gmail.com

Dated: September 15, 2022


                                   CERTIFICATE OF SERVICE

        I, Maksim Nemtsev, hereby certify that on this date, September 15, 2022, a copy of the
foregoing documents has been served via Electronic Court Filing system on all registered
participants.

                                                           /s/ Maksim Nemtsev
                                                           Maksim Nemtsev




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